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        In the United States Court of Federal Claims
                                    No. 23-2087C
                             (Filed: September 19, 2024)

**************************

METROIBR JV LLC,

                Plaintiff,

v.

THE UNITED STATES,

                Defendant,


         and


IGNITEACTION LLC,

                Defendant-Intervenor.

**************************

                                      ORDER

      For the reasons stated on the record during the status conference held
on September 19, 2024, plaintiff’s motion for an extension of time to
complete discovery (ECF No. 61) is granted in part as detailed on the record.
Accordingly, the following deadlines are set:

         1. Plaintiff shall complete the depositions authorized by our July 16,
            2024 opinion on or before November 12, 2024.

         2. The parties shall file a joint status report proposing a schedule for
            further proceedings, including addressing how to appropriately
            supplement and complete the administrative record on or before
            November 26, 2024.
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                                 s/Eric G. Bruggink
                                 ERIC G. BRUGGINK
                                 Senior Judge




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